                 IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                            NORTHERN DIVISION

In re: JIT INDUSTRIES, INC.                )
       EIN: xx-xxx7267                     )       Case No.: 18-80892-CRJ-11
                                           )
               Debtor.                     )
                                           )       CHAPTER 11
_______________________________________)
                                           )
JIT INDUSTRIES, INC.,                      )
                                           )
       Plaintiff,                          )
                                           )
v.                                         )       Adversary Proceeding No.: 18-80069
                                           )
WELLS FARGO FINANCIAL                      )
LEASING, INC.,                             )
                                           )
SPECTRUM MFG. & SALES, INC.,               )
                                           )
CAVANAUGH GOVERNMENT                       )
GROUP, LLC,                                )
                                           )
MSC INDUSTRIAL SUPPLY,                     )
                                           )
JIT MILITARY SALES,                        )
An Alabama General Partnership,            )
                                           )
AMERICAN EXPRESS BANK FSB,                 )
A federal savings bank organized under the )
Laws of the United States,                 )
                                           )
B.W. ELLIOTT MANUFACTURING                 )
CO., LLC,                                  )
                                           )
PORTFOLIO RECOVERY                         )
ASSOCIATES, LLC, as assignee of            )
CAPITAL ONE BANK (USA), N.A. ,             )
                                           )
CITY OF HUNTSVILLE, TAX                    )
ADMINISTRATION DIVISION,                   )
                                           )
LYNDA HALL, TAX COLLECTOR FOR              )
MADISON COUNTY, ALABAMA,                   )




Case 18-80069-CRJ     Doc 78   Filed 09/21/18 Entered 09/21/18 10:51:01   Desc Main
                               Document     Page 1 of 2
                                                 )
ROBERTSON FUEL SYSTEMS, L.L.C.                   )
                                                 )
        Defendants.                              )


          ORDER CONTINUING BRIEFING DATE ON MOTION TO DISMISS
           ADVERSARY PROCEEDING FILED BY JIT MILITARY SALES

         This matter came before the Court on the oral Motion by the Plaintiff to modify the
briefing date set by this Court in its August 23, 2018 Order (Doc. 41). A hearing was held on
September 19, 2018, with appearances by Tazewell T. Shepard IV on behalf of Plaintiff JIT
Industries, Inc., Kevin D. Heard on behalf of Defendant JIT Military Sales, and Michael A.
Harrison on behalf of Defendant American Express National Bank.

         Upon consideration by the Court, and for cause presented, it is hereby

         ORDERED, ADJUDGED and DECREED that the briefing deadline of October 5, 2018
set by this Court’s August 23, 2018 Order (Doc. 41) is hereby VACATED; it is further

        ORDERED, ADJUDGED and DECREED that JIT Industries, Inc. and JIT Military
Sales must submit the briefs previously ordered on or before Monday, November 5, 2018 by 5:00
p.m., CDT.


Dated this the 21st day of September, 2018.

                                                     /s/ Clifton R. Jessup, Jr.
                                                     Clifton R. Jessup, Jr.
                                                     United States Bankruptcy Judge



Prepared by:
Tazewell T. Shepard IV
Attorney for Debtor/Plaintiff




Case 18-80069-CRJ          Doc 78   Filed 09/21/18 Entered 09/21/18 10:51:01          Desc Main
                                    Document     Page 2 of 2
